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UNITED STATES DISTRICT COURT
WESTERN DlsTRICT oF NEW YoRK

 

ALICIA PAGAN,
Plaintiff, STIPULATION OF
V. DISMISSAL
THE CITY OF ROCHESTER, 17-cv-6073 (CJS)(JWF)

ROCHESTER POLICE DEPARTMENT OFFICER
THOMAS LISLE, ROCHESTER POLICE DEPARTMENT
SERGEANT MATTHEW WEBSTER,
Defendants.
IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
counsel for the parties herein, that whereas no party is an infant or an incompetent for whom a

committee or a conservatee has been appointed, and no person not a party has an interest in the

subject matter of this proceeding, this action is hereby dismissed with prejudice.

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wEsLE_Y.)cLARK & BATES, LLP \ TIMGIH¥_LCLMN
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Attorneys for Plaintij” Patrick Beath, Of Counsel
45 Exchange Boulevard, Suite 900 New York, New York 10016
Rochester, New York 14614 Attorneys for Defendants

30 Church Street, Room 400A
Rochester, New York 14614

SO ORDERED:
Dated: glfg)L[E' 21& , 20/_8 C/
Rochester, New York HON. CHARL . S G SA

U.S. DISTRICT JUDGE

